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         Order Regarding Motion for Sentence Reduction Under 18 U.S.C. § 3582(c)(2)




                   UNITED STATES OF AMERICA
                                       v.
                                                                                      Case
                         Socorro Villalobos-Villa                                     Number:
                                                                                      USM           26708-009

Date of Original Judgment:                         March 14. 2013

Date of Previous Amended Judgment: N/A                                                N/A
(Use Date ofLastAmendedJudgment if Any)                                               Defendant's Attorney



       ORDER REGARDING MOTION FOR SENTENCE REDUCTION UNDER 18 U.S.C. § 3582(C)(2)

      Upon motion of        0 the defendant     0 the Director of the Bureau of Prisons      X the court
      under 18 U.S.C. § 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline
      sentencing range that has subsequently been lowered and made retroactive by the United States Sentencing
      Commission pursuant to 28 U.S.C. § 994(u), and having considered such motion, and taking into account
      the policy statement set forth at USSG § 1Bl.10 and the sentencing factors set forth in 18 U.S.C. § 3553(a),
      to the extent that they are applicable,

      IT IS ORDERED that the motion is:
             0 DENIED.
             X GRANTED and the defendant's previously imposed sentence of imprisonment of
                   70 months is reduced to 57 months.




Except as pro·;ided above, all provisions of the judgment dated Mmch 14, 2013 will remain in effect.

IT IS SO ORDERED.

OrderDate:     ~r:orY
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Effective Date: November 1. 2015
                (If different from order date)




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